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 1   KELLY BABINEAU (CA State Bar #190418)
 2
     The Law Office of Kelly Babineau
     455 Capitol Mall, Ste 802
 3   Sacramento, CA 95814
     Tel:(916) 442-4948
 4
     Fax: (916) 492-2909
 5   kbabineau@klblawoffice.net
 6
     Attorney for RAMON GARCIA PRADO
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 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     THE UNITED STATES OF AMERICA, ) No. 2:14-CR-0303MCE
                      Plaintiff,        )
12                                      ) STIPULATION AND
           v.                           ) ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     SESAR PRADO, AND                   )
15
     RAMON GARCIA PRADO                 )
16                                      ) Date: 5-17-2015
                      Defendant.        ) Time: 9:00 a.m.
17
     ________________________________) Judge: Hon. Morrison C. England
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            Plaintiff United States of America, by and through its counsel of record, and

20   defendants Sesar Prado and Ramon Prado, by and through their counsels of record,

21   hereby stipulate as follows:

22          1.      By previous order, this matter was set for status May 7, 2015.
23          2.      By this stipulation, defendant now moves to continue the status
24   conference until May 14, 2015, and to exclude time between May 7, 2015 and May 14,
25   2015, under Local Code T4. Plaintiff does not oppose this request.
26          3.      The parties agree and stipulate, and request that the Court find the
27   following:
28          a.      The government has represented that the discovery associated with this


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     case includes investigative reports, search warrant affidavits, judgment and commitment
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     records, CD’s and DVD’s, and RAP sheets of the defendants. All of this discovery has
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     been either produced directly to counsel and / or made available for inspection and
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     copying.
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              b.      Counsel for defendant desires additional time to complete the review of
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     discovery, to conduct defense investigation, and to discuss potential resolutions with
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     their clients. Counsel has also been continuing to engage in pre-trial negotiations with
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     the government and otherwise prepare for trial.
              c.      Counsel for defendant believes that failure to grant the above-requested
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     continuance would deny her the reasonable time necessary for effective preparation,

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     taking into account the exercise of due diligence.

13            d.      The government does not object to the continuance.

14            e.      Based on the above-stated findings, the ends of justice served by

15   continuing the case as requested outweigh the interest of the public and the defendant in
16   a trial within the original date prescribed by the Speedy Trial Act.
17            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
18   § 3161, et seq., within which trial must commence, the time period of May 7, 2015 to
19   May 14, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),
20   B(iv) [Local Code T4] because it results from a continuance granted by the Court at
21   defendant’s request on the basis of the Court's finding that the ends of justice served by
22   taking such action outweigh the best interest of the public and the defendant in a speedy
23   trial.
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           4.      Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
 3
     from the period within which a trial must commence.
 4
     IT IS SO STIPULATED.
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     Dated: May 5, 2015                              Respectfully submitted,
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                                                     /s/ Kelly Babineau
 8
                                                     KELLY BABINEAU
 9                                                   Attorney for Ramon Prado

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11
     Dated: May 5, 2015                              /s/ Dina Santos
                                                     DINA SANTOS
12                                                   Attorney for Sesar Prado
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14
     Dated: May 5, 2015                              /s/ Olusere Olowoyeye
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                                                     OLUSERE OLOWOYEYE
16                                                   Assistant U.S. Attorney
17
                                           ORDER
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           IT IS SO ORDERED.
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     Dated: May 8, 2015
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